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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA
                           ABINGDON DIVISION

   TONY A. MESSER, ET AL.,                        )
                                                  )
                    Plaintiffs,                   )      Case No. 1:18CV00040
                                                  )
   v.                                             )            JUDGMENT
                                                  )
   BRISTOL COMPRESSORS                            )       JUDGE JAMES P. JONES
   INTERNATIONAL, LLC,                            )
                                                  )
                    Defendant.                    )

        Judgment is hereby entered against defendant Bristol Compressors

  International, LLC, in favor of the individual Class Members listed in the Exhibits

  5, 6, 7, 8, and 9, which exhibits were introduced at the hearing held on January 11,

  2024, and docketed as ECF No. 180, in the amounts as set forth as to each Class

  Member in the final column of each of such exhibits, the total amount owing to all

  Class Members being $2,407,471.90.

        This Judgment shall be in place of the earlier Judgment entered November 4,

  2021, ECF No. 154, in that it includes all amounts awarded in the said prior

  Judgment, together with the new amounts awarded by this Court following the

  remand of the case by the court of appeals.

        The Clerk shall close the case, with leave granted to Class Counsel to file a

  supplemental motion for additional attorney’s fees and costs incurred after the prior
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  motion seeking attorney’s fees and costs filed December 6, 2021, ECF No. 159,

  which supplemental motion must be filed within 30 days of this date.

        It is so ORDERED.

                                               ENTER: January 16, 2024

                                               /s/ JAMES P. JONES
                                               Senior United States District Judge




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